 4:13-bk-15983 Doc#: 117 Filed: 12/08/16 Entered: 12/08/16 15:28:19 Page 1 of 3



                    IN THE UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF ARKANSAS
                              LITTLE ROCK DIVISION

IN RE: JERRY P. WHITLEY, Debtor                              CASE NUMBER: 4:13-bk-15983T
                                                                                Chapter 7

RICHARD L. COX, TRUSTEE                                                             PLAINTIFF

VS.                            AP CASE NO. 4:15-ap-01088

JERRY P. WHITLEY
SHARON R. WHITLEY ET AL                                                          DEFENDANTS

  MOTION FOR APPROVAL OF COMPROMISE AND SETTLEMENT AGREEMENT

         Comes now the Trustee herein, Richard L. Cox and for his Motion for Approval of

Compromise and Settlement Agreement; states:

          1.   On October 13, 2013 (the “Petition Date”), the Jerry P. Whitley, Debtor (the

 “Debtor”) filed a voluntary petition under chapter 7 of the United States Bankruptcy Code in Case

 No. 4:13-bk-15983T (hereafter “the Bankruptcy Case”).

          2.   The Debtor’s bankruptcy case is pending in the United States Bankruptcy Court for

 the Eastern District of Arkansas, Little Rock Division and Richard L. Cox is the Trustee in said

 case.

          3.   On September 22, 2015 the Trustee filed Adversary Proceeding No. 4:15-ap-01088

 (hereafter “the Adversary Proceeding”).

      4.       On September 25, 2015, the Trustee filed DE #13 Plaintiff’s First Amended
Complaint.

      5.       On October 30, 2015, the Trustee filed DE #51 Plaintiff’s Second Amended
Complaint.

       6.      Trustee’s Second Amended Complaint DE #51 sets forth eleven counts as
follows:
 4:13-bk-15983 Doc#: 117 Filed: 12/08/16 Entered: 12/08/16 15:28:19 Page 2 of 3



                                                   2

               a.      Count I: Declaratory Judgment; Debtor’s Interest in 500 Acres of Land; 11
U.S.C. §544, Strong Arm Powers; in the Alternative, 11 U.S.C. §547(b), Preferential Transfer;
Authority to sell 500 Acres;

              b.       Count II: 11 U.S.C. §548(a)(1)(A); Actual Fraud; 8 Quieto Trace Real and
Personal Property;

               c.      Count III: Actual Fraud; 11 U.S.C. §548(a);

               d.      Count IV: Bankruptcy Fraud; 11 U.S.C. §727(d)(2); Revocation of
Discharge;

              e.      Count V:       11 U.S.C. §548(a)(1)(A); Actual Fraud; 11 U.S.C. §548
(A)(1)(B); Constructive Fraud;

              f.      Count VI: Personal, Non-Dischargeable Judgment Against Debtor;
Constructive Trust or Equitable Lien;

               g.      Count VII: Request for Emergency Order Imposing the Automatic Stay

Provisions of 11 U.S.C. §362 on to the 8 Quieto Trace Real and Personal Property;

               h.      Count VIII: 11U.S.C. §547(B); Preferential Transfers; 11 U.S.C.

§548(a)(1)(A); Actual Fraud;

               i.      Count IX: 11 U.S.C. §548 (a)(1)(A; Actual Fraud; Conspiracy to Defraud;

               j.      Count X: Plaintiff’s Cross-Complaint Against Intervenors, Michael and

Deana Fleharty; and

               k.      Count XI: 11 U.S.C §548; Equitable Tolling of the Statute of Limitations.

       7.      The Trustee; the Debtor, The Debtor’s spouse, Sharon R. Whitley; Benny Lawrence

Welch and Linda Johnson Welch Co-Trustees of the Welch Family Trust DTD September 18,

1996; Jerry K. Whitley and Elise Whitley, Tammy Whitley and Jimmy Whitley (hereafter “the

Parties”) wish to settle this matter on the terms of the Settlement Agreement attached hereto as

Attachment “A” which is incorporated herein by reference.

       8.      The Trustee believes that this settlement is in the best interest of the estate.
 4:13-bk-15983 Doc#: 117 Filed: 12/08/16 Entered: 12/08/16 15:28:19 Page 3 of 3



                                                      3

        9.      Any creditor or party in interest desiring to object to this motion should file a

written objection with the Clerk of the United States Bankruptcy Court, 300 W. 2nd Street,

Little Rock, Arkansas 72201, with a copy served on the undersigned counsel for the Trustee

within fourteen (14) days of the date of this filing. If objections are timely filed, the Court will

set a hearing on subsequent notice to consider any such objection. If no objections are filed

within fourteen (14) days of the date of this filing, the Court may enter an order approving

the motion without further notice or hearing.

        WHEREFORE, Movant, Richard L. Cox, Trustee prays that the Settlement Agreement be

approved, and for all other just and proper relief.

                                                          Respectfully submitted,

                                                          RICHARD L. COX, TRUSTEE, Plaintiff
                                                          By His Attorney
                                                          RICHARD L. COX, P. A.
                                                          364 Long Point Road
                                                          Hot Springs, AR 71913
                                                          (501) 623-1759

                                                          By: /s/ Richard L. Cox
                                                          RICHARD L. COX


                                  CERTIFICATE OF SERVICE

        I, RICHARD L. COX, state that I have on this 8th day of August 2016 forwarded a true
and correct copy of the above and foregoing Motion for Approval of Compromise and Settlement
Agreement; to J. BRAD MOORE, Attorney for the Debtors and to the U. S. TRUSTEE via ECF
and to all interested parties on the Court’s mailing matrix for the lead case by U.S. Mail, postage
prepaid.

                                                          /s/ Richard L. Cox
                                                          RICHARD L. COX
